Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                    Page 1 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                    Page 2 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                    Page 3 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                    Page 4 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                    Page 5 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                    Page 6 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                    Page 7 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                    Page 8 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                    Page 9 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                   Page 10 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                   Page 11 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                   Page 12 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                   Page 13 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                   Page 14 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                   Page 15 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                   Page 16 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                   Page 17 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                   Page 18 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                   Page 19 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                   Page 20 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                   Page 21 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                   Page 22 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                   Page 23 of 24
Case 04-11173   Doc 1   Filed 03/22/04 Entered 03/22/04 09:57:51   Desc Petition
                                   Page 24 of 24
